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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 05-cv-00377-WDM-BNB

   MOISES CARRANZA-REYES,

   Plaintiff,

   v.

   THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS,
   FRED WEGENER, individually and in his capacity as Sheriff of Park County, Colorado,
   MONTE GORE, individually and in his capacity as Captain of Park County Sheriff’s Department,
   and
   VICKIE PAULSEN, individually and in her official capacity as Registered Nurse for Park
   County, Colorado,

   Defendants.
   ______________________________________________________________________________

                                    MINUTE ORDER
   ______________________________________________________________________________
   Minute Order Entered by Magistrate Judge Boyd N. Boland

          This matter is before the Court on the Unopposed Motion to Amend Final Pre-trial
   Order to Add Anthony Volz, R.N. as an Expert Witness for Plaintiff [docket no. 216, filed
   August 15, 2007] (the “Motion”).

           IT IS ORDERED that the Motion is GRANTED.

   DATED: August 16, 2007
